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                               UNITED STATES JUDICIAL PANEL
                                            on
                                MULTIDISTRICT LITIGATION


                  FIRST AMENDMENT TO THE HEARING SESSION ORDER
                  AND ATTACHED SCHEDULE FILED FEBRUARY 16, 2024


    IT IS ORDERED that the Notice of Hearing Session and Hearing Session Order for the hearing
    session on March 28, 2024, in Charleston, South Carolina, filed by the Judicial Panel on
    Multidistrict Litigation on February 16, 2024, are amended to update the following:


    LOCATION OF HEARING SESSION:              J. Waties Waring Judicial Center 1
                                              Hon. Sol Blatt Jr. Courtroom, # 3 – 2nd Floor
                                              83 Meeting Street
                                              Charleston, South Carolina 29401

    TIME OF HEARING SESSION:                  In those matters designated for oral argument, counsel
                                              presenting oral argument must be present at 8:00 a.m.
                                              in order for the Panel to allocate the amount of time
                                              for oral argument. Oral argument will commence at
                                              9:30 a.m.

                                               Attorneys wishing to bring in their mobile devices must
                                               present their bar identification cards upon entry to the
                                               courthouse. Other attendees will not be allowed to
                                               bring in mobile devices.



                                               FOR THE PANEL:



                                               Tiffaney D. Pete
                                               Clerk of the Panel



cc: Clerk, United States District for the District of South Carolina




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    Please note this change from the Panel’s February 16, 2024, order.
